Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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Case 2:17-bk-53724   Doc 37-1 Filed 01/19/18 Entered 01/19/18 12:04:41   Desc
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